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LBR Form 2016-1(b)

                                                      UNITED STATES BANKRUPTCY COURT
                                                     FOR THE SOUTHERN DISTRICT OF OHIO
                                                       EASTERN DIVISION AT COLUMBUS


     In re:                                                                                     Case No:
              Brian G. Somich
                                                                                                Chapter 13

                                                           Debtor(s)                            Judge C. Kathryn Preston


                                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                        AND APPLICATION FOR ALLOWANCE OF FEES IN
                                                    CHAPTER 13 CASE
I.            Disclosure

1.            Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
              debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to
              be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection
              with the bankruptcy case is as follows:

      For legal services I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . $ 450.00_____

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . $ 450.00______

      Balance due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00_______

2.            The source of the compensation paid to me was:

              X Debtor                                                        Other (specify)
                                                                              .
3.            The source of compensation to be paid to me is:

              X Debtor                                                        Other (specify)

4.            X I have not agreed to share the above-disclosed compensation with any other persons unless they are members
              and/or associates of my law firm.

                 I have agreed to share the above-disclosed compensation with another person or persons who are not members or
              associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
              compensation, is attached.




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II.     Application

5.      I hereby apply for an allowance of fees in the amount set forth above. I understand and agree that the Court may
        approve, without itemization, an allowance of fees not to exceed $3,500, for rendering the legal services set forth below.
        If I seek payment of fees in excess of $3,500, I will file a separate application that sets forth the total amount of the fee
        requested, and that includes an itemization of all legal services performed, the amount and itemization of any expenses
        for which reimbursement is sought, the identification and hourly billing rate of any attorney, paralegal, or other
        professional person for whom fees are sought, and the actual time spend by the attorney, paralegal, or other professional
        person for whom fees are sought.

        a. Initial client interview, preparation and signing of any retainer or representation agreement, analysis of the debtor’s
           financial situation, and rendering advice to the debtor in determining whether, and under what chapter, to file a
           petition in bankruptcy;
        b. Advising the debtor concerning his or her obligations and duties pursuant to the Code, the Rules, the Local Rules,
           applicable court orders, and provisions of his or her chapter 13 plan;
        c. Preparation and filing of any document required by § 521 of the Code, including Official Form 122C-1 and Official
           Form 122C-2 (if applicable), the petition, schedules, statement of financial affairs and any amendments thereto that
           may be required;
        d. Preparation and filing of the chapter 13 plan, and any preconfirmation amendments thereto that may be required;
        e. Preparation and filing of payroll orders and amended payroll orders, except amended payroll orders prepared in
           connection with the modification of a plan or the temporary suspension of payments;
        f. Representation of the debtor at the § 341 meeting of creditors and confirmation hearing, and at any adjournments
           thereof;
        g. Filing of address changes for the debtor;
        h. Review of claims;
        i. Review of notice of intention to pay claims;
        j. Preparation and filing of objections to non-real estate and non-tax claims, exclusive of any hearings;
        k. Preparation and filing of first motion to suspend or temporarily reduce plan payments;
        l. Representation of the debtor in addressing any routine tax return or tax refund inquiries by the trustee, exclusive of
           any motion, objection, or hearing;
        m. Filing of a notice of final cure payment, when filed by the debtor, exclusive of any hearings;
        n. Preparation and filing of debtor’s certification regarding issuance of discharge order;
        o. Routine phone calls and questions;
        p. File maintenance and routine case management; and
        q. Any other duty as required by local decision or policy.

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:



11/21/2017_____                                        /s/Brian D. Flick, Esq._________________
Date                                                     Brian D. Flick, Esq.
                                                         Attorney for Debtors
                                                         DANNLAW
                                                         PO BOX 6031040
                                                         Cleveland, OH 44103
                                                         (216) 373-0539
                                                         (216) 373-0536 e-fax
                                                         bflick@dannlaw.com
                                                         Attorney No. 0081605




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